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Speaker 1 (00:00):
What's up?

James Garretson (00:04):
Hey.

Speaker 1 (00:05):
Yes?

James Garretson (00:05):
If you can find somebody to do four, I'll give you 3000 cash today.

Speaker 1 (00:11):
[crosstalk 00:00:11]

James Garretson (00:11):
I'm fixing to give it to a dealer anyway. So 3000 today. Today.

Speaker 1 (00:17):
Okay. [crosstalk 00:00:18]

James Garretson (00:17):
I got crisp $100 bills.

Speaker 1 (00:22):
I'll get you.

James Garretson (00:22):
All right, bud.

Speaker 1 (00:22):
Bye-bye.




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